                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                            3:19-cr-00224-MOC-DSC-1

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                          ORDER
TIMOTHY LAMONT CLOUD,                  )
                                       )
                  Defendant.           )
_______________________________________)

      THIS MATTER is before the Court on Defendant’s pro se Motion for Compassionate

Release/Reduction of Sentence. (Doc. No. 24). Defendant seeks a reduction based on the

COVID-19 pandemic, as well as, family circumstances. (Doc. No. 24 at 1).

                                          ORDER

       IT IS, THEREFORE, ORDERED that within 20 days the Government shall file a

response to Defendant’s motion.



                                               Signed: December 29, 2020




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